Case 6:12-cr-00332-EEF-PJH         Document 30      Filed 02/22/13     Page 1 of 5 PageID #:
                                           60



                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                        LAFAYETTE-OPELOUSAS DIVISION

UNITED STATES OF AMERICA                           CRIMINAL NO. 12-CR-00332

VERSUS                                             JUDGE FOOTE

YOANY QUESADA-ROMERO                               MAGISTRATE JUDGE HANNA
JOSE ANTONIO ABREU-ARBOLAEZ


                           CONFLICT RULING AND ORDER

       Based on the dual representation of the defendants by a single attorney in the

instant case, the undersigned conducted a Garcia hearing on February 22, 2013. Present

at the hearing were Max J. Koeck, IV, retained counsel for defendants; the defendants

Yoany Quesada-Romero and Jose Antonio Abreu-Arbolaez; standby counsel from the

CJA panel Randall McCann; and Interpreter Gladys Brenke. The defendants were placed

under oath to respond to questions from the court. After questioning both defendants

regarding their age, education, literacy, and possible use of alcohol or drugs, the Court

found both defendants to be competent.

       Through the interpreter, the Court recited the charges against them and the

maximum possible penalties for each one of the charges.       The Court explained to the

defendants their right to have effective legal representation, which includes conflict-free

counsel, and the issues raised by their retention of a single attorney to represent them

both. The defendants were provided examples of conflicts which may arise from dual

representation by a single attorney, including the possibility that the attorney/client
Case 6:12-cr-00332-EEF-PJH         Document 30       Filed 02/22/13      Page 2 of 5 PageID #:
                                           61



                                               2

privilege may limit communications by the attorney of information gathered from the co-

defendant, possible conflicts of interest during plea negotiations and jury selection, and

possible conflicts related to the decision by any defendant to testify at trial or to present

evidence at trial to argue the guilt of the other defendant. The defendants were advised

that similar issues may also arise during sentencing. Each defendant expressed his

understanding regarding those potential conflicts.

       The defendants were then offered the opportunity to consult privately with Mr.

McCann regarding any questions or concerns they may have regarding the issues

presented during the hearing. Defendant Yoany Quesada-Romero accepted, and with

only the interpreter present, consulted privately with Mr. McCann. Mr. Quesada-Romero

acknowledged his questions had been answered to his satisfaction. Defendant Jose

Antonio Abreu-Arbolaez declined the offer to speak privately with Mr. McCann. Both

defendants were offered the opportunity to speak privately with the court; both declined.

       Mr. Koeck was asked if he was aware of any actual conflicts related to his

representation of both defendants, and he indicated that he had explained the potential

conflicts to his clients but that no actual conflicts are apparent at present. All parties were

reminded that in the event an actual conflict of interest should arise in the future and

before resolution of this matter, the parties should notify the court.

        Each defendant was asked if he understood the concept of conflict of counsel in a

dual representation. Each declared his understanding in open court. Both defendants
Case 6:12-cr-00332-EEF-PJH        Document 30      Filed 02/22/13     Page 3 of 5 PageID #:
                                          62



                                             3

declared their respective desire to waive the potential conflict which exists based on the

joint representation by Mr. Koeck and their willingness to have Mr. Koeck represent

them. Each was presented with a written waiver form from the Court, and each had the

document separately read to them verbatim by the interpreter. Both defendants

acknowledged their review of the document with the interpreter, declared their

understanding of the content of the document, the absence of any questions regarding the

document and each confirmed his signature on the waiver document.

       When faced with the possibility of a conflict, it is incumbent upon the court to

ascertain whether the conflict warrants separate counsel for a criminal defendant

notwithstanding the criminal defendant’s right to be represented by his preferred counsel.

Wheat v. United States, 486 U.S. 153,159-160, 108 S.Ct. 1692,1697 (1988). A district

court may refuse to accept a defendant’s waiver of an actual or potential conflict, because

the court has “an independent interest in ensuring that criminal trials are conducted within

the ethical standards of the profession and that legal proceedings appear fair to all who

observe them.” Id., see also United States v. Vasquez, 995 F.2d 40,42 (5th Cir. 1993).

       The district court “must recognize a presumption in favor of [the defendant’s]

counsel of choice, but that presumption may be overcome not only by a demonstration of

actual conflict but by a showing of a serious potential for conflict.” Wheat, supra at 164,

108 S.Ct. at 1699, Vasquez, supra at 42.
Case 6:12-cr-00332-EEF-PJH        Document 30       Filed 02/22/13     Page 4 of 5 PageID #:
                                          63



                                              4

       The Court finds there is no evidence at present that an actual conflict exists.

Furthermore, while there is some potential for conflict in dual representation, the Court

finds there is no evidence that there is a serious potential of an actual conflict developing

as this case progresses and sees no reason based on that which was presented at the

hearing to discharge Mr. Loeck. In the event either defendant, defense counsel or the

government should identify an actual conflict as this matter proceeds to resolution, the

Court is to be immediately notified and will convene another hearing as appropriate.

       As to the potential conflict, the Court finds that the defendants understand their

right to conflict-free counsel and the potential for adverse consequences if they proceed

with joint representation. The defendants have been made aware of the presence and

availability of other counsel for consultation. See United States v. Greig, 967 F.2d 1018,

1022 (5th Cir.1992), citing United States v. Casiano, 929 F.2d 1046, 1052 (5th Cir. 1991)

(explaining in simple language the requirements of Garcia). The defendants have, both

orally and in writing, waived their right to have separate counsel and the Court finds the

defendants’ waivers are knowing, voluntary and valid under United States v. Garcia, 517

F.2d 272, 278 (5th Cir.1975), abrogated on other grounds by Flanagan v. United States,

465 U.S. 259, 263 & n. 2, 104 S.Ct. 1051, 79 L.Ed.2d 288 (1984). Therefore, the waivers

are accepted and Mr. Koeck will remain as counsel for both defendants.



Given the foregoing:
Case 6:12-cr-00332-EEF-PJH       Document 30      Filed 02/22/13   Page 5 of 5 PageID #:
                                         64



                                            5

IT IS HEREBY ORDERED THAT:

       In the event any party or counsel becomes aware of an actual conflict presented by

the dual representation of the defendants by the single attorney Max Koeck, IV, the Court

will be so advised.



              Signed in Lafayette, Louisiana, this 22nd day of February, 2013.



                        ___________________________________
                                  Patrick J. Hanna
                            United States Magistrate Judge
